Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 1 of 58 PageID: 5
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 2 of 58 PageID: 6
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 3 of 58 PageID: 7
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 4 of 58 PageID: 8
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 5 of 58 PageID: 9
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 6 of 58 PageID: 10
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 7 of 58 PageID: 11
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 8 of 58 PageID: 12
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 9 of 58 PageID: 13
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 10 of 58 PageID:
                                      14
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 11 of 58 PageID:
                                      15
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 12 of 58 PageID:
                                      16
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 13 of 58 PageID:
                                      17
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 14 of 58 PageID:
                                      18
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 15 of 58 PageID:
                                      19
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 16 of 58 PageID:
                                      20
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 17 of 58 PageID:
                                      21
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 18 of 58 PageID:
                                      22
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 19 of 58 PageID:
                                      23
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 20 of 58 PageID:
                                      24
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 21 of 58 PageID:
                                      25
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 22 of 58 PageID:
                                      26
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 23 of 58 PageID:
                                      27
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 24 of 58 PageID:
                                      28
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 25 of 58 PageID:
                                      29
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 26 of 58 PageID:
                                      30
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 27 of 58 PageID:
                                      31
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 28 of 58 PageID:
                                      32
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 29 of 58 PageID:
                                      33
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 30 of 58 PageID:
                                      34
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 31 of 58 PageID:
                                      35
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 32 of 58 PageID:
                                      36
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 33 of 58 PageID:
                                      37
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 34 of 58 PageID:
                                      38
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 35 of 58 PageID:
                                      39
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 36 of 58 PageID:
                                      40
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 37 of 58 PageID:
                                      41
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 38 of 58 PageID:
                                      42
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 39 of 58 PageID:
                                      43
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 40 of 58 PageID:
                                      44
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 41 of 58 PageID:
                                      45
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 42 of 58 PageID:
                                      46
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 43 of 58 PageID:
                                      47
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 44 of 58 PageID:
                                      48
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 45 of 58 PageID:
                                      49
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 46 of 58 PageID:
                                      50
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 47 of 58 PageID:
                                      51
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 48 of 58 PageID:
                                      52
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 49 of 58 PageID:
                                      53
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 50 of 58 PageID:
                                      54
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 51 of 58 PageID:
                                      55
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 52 of 58 PageID:
                                      56
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 53 of 58 PageID:
                                      57
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 54 of 58 PageID:
                                      58
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 55 of 58 PageID:
                                      59
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 56 of 58 PageID:
                                      60
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 57 of 58 PageID:
                                      61
Case 3:23-cv-03810-ZNQ-TJB   Document 1-1   Filed 07/17/23   Page 58 of 58 PageID:
                                      62
